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AO 442 (Rev. L1/L1) Arrest Warrant

 

 

 

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

 

v. ) Case: 1:21-mj-00092
COUY GRIFFIN ) Assigned To : Faruqui, Zia M.
) Assign. Date : 1/16/2021
Description: Complaint w/ Arrest Warrant
_ _ )
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) COUY GRIFFIN :

 

 

who is accused of an offense or violation based on the following document filed with the court:

O Indictment CO) Superseding Indictment O Information O Superseding Information Complaint

O Probation Violation Petition C1 Supervised Release Violation Petition O Violation Notice © Order of the Court

This offense is briefly described as follows:

18 U.S.C, 1752 (a)(1)- Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority

ee Zia M. Faruqui
tS 2021.01.15 22:06:27
Date: 01/15/2021. ; -05'00'
Issuing officer's signature
City and state: Washington, DC _ _ — Zia M. Faruqui, U.S. Magistrate Judge

 

 

Printed name and title

 

Return

 

This Wy was received on (date) / 7 Z 0 d\ _, and the person was arrested on (date) [ [7 02 |
at (city and state) Wash ing tof C

Date: i/ Id OAL —— Arrestilig officer's’
Steven Caled well

Prifited name and title

   

 

 
